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16
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17

18   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
     LIABILITY LITIGATION,
19                                                   Case No: 3:16-md-02741-VC

20                                                   DEFENDANT MONSANTO COMPANY’S
     Michael J. Caccia v. Monsanto Co.,              REPLY IN SUPPORT OF ITS MOTION
21   3:20-cv-01915-VC                                TO EXCLUDE TESTIMONY OF
                                                     PLAINTIFF’S SPECIFIC CAUSE
22                                                   EXPERT DR. MARC BRAUNSTEIN

23                                                   Hearing:
                                                     Date: March 1, 2024
24                                                   Time: 10:00 a.m.
                                                     Place: San Francisco Courthouse,
25                                                          Courtroom 4 – 17th Floor

26

27

28



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 1                                             INTRODUCTION
 2          In Pre-Trial Order 288 (“PTO 288”), this Court correctly observed that a “sentiment may have

 3 developed in this MDL that because some general and specific causation opinions have now been

 4 admitted, additional experts can get through the Daubert gate with a casual wave of the hand. That is

 5 wrong.” Id. at 12. Plaintiff’s Response to Monsanto’s Motion to Exclude Plaintiff’s specific causation

 6 expert, Dr. Braunstein, is precisely the “casual wave of the hand” against which this Court warned.

 7          Plaintiff’s Response is mostly just a recitation of legal jargon—including jargon that simply

 8 does not apply to a specific causation expert like Dr. Braunstein—designed to make it sound as though

 9 Dr. Braunstein’s opinion is far more sophisticated than it really is.1 In reality, Dr. Braunstein’s opinions
10 start and end with the conclusion that Plaintiff’s non-Hodgkin’s lymphoma (“NHL”) must have been

11 caused by Roundup. That is the hallmark of an unreliable opinion.

12          Dr. Braunstein purports to have conducted a differential diagnosis to determine the most likely

13 cause of Plaintiff’s NHL. But he did not reliably rule in Plaintiff’s Roundup use as a potential cause,

14 because he relied solely on unadjusted “exposure days” data points that this Court has already held

15 cannot alone support a specific causation opinion. Although he purported to rule out Plaintiff’s weight

16 as a potential cause he did not do so reliably because he admitted that people in Plaintiff’s weight range

17 are at heightened risk of developing not only NHL, but Plaintiff’s specific subtype of NHL—indeed,

18 Dr. Braunstein himself testified that people in Plaintiff’s weight range are even more likely than the

19 morbidly obese to develop NHL. And because Dr. Braunstein did not reliably rule in Plaintiff’s

20 Roundup use Dr. Braunstein is not off the hook when it comes to the need to consider, and rule out,

21 idiopathic causes of NHL, which he did not do.

22
            For these reasons, and those that follow, this Court should grant Monsanto’s motion to exclude
23
     Dr. Braunstein’s opinion.
24

25   1
     For example, Plaintiff asserts that Dr. Braunstein “addressed and weighed each potential risk factor
   using a differential diagnosis approach along with applying the Bradford-Hill criteria in arriving at his
26 opinion that [Plaintiff’s] exposure to Roundup was the most likely contribution to the development of
   his [NHL].” Resp. at 2 (quotation marks omitted); see also id. at 6, 11 (quoting Dr. Braunstein’s
27 deposition testimony and Report for the proposition that he relied on the Bradford-Hill criteria to reach
   a specific causation opinion). But “the Bradford-Hill criteria are used to establish general causation
28 from epidemiological studies—they are not used to establish specific causation.” In re Viagra Prod.
   Liab. Litig., 658 F. Supp. 2d 950, 958 (D. Minn. 2009) (emphasis added).

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 1                                                ARGUMENT
 2 I.       Dr. Braunstein’s “Exposure Days” Approach Did Not Reliably “Rule In” Roundup.
 3          In its Motion, Monsanto noted that Dr. Braunstein did not “reliably rule in Roundup as a cause”

 4 of Plaintiff’s cancer. Mot. at 3 n.1. In his Response, Plaintiff asserts that Dr. Braunstein’s purported

 5 differential diagnosis was reliable because he ruled in glyphosate as a potential cause of Plaintiff’s

 6 NHL based on Plaintiff’s “frequent and long standing exposure to Roundup.” Resp. at 11 (quoting Hsu

 7 Decl., Ex. C, Braunstein Report at 142). Specifically, Dr. Braunstein concluded that Plaintiff’s “133

 8 exposure days … is more than the minimum exposures reported in epidemiologic studies associating

 9 [Roundup exposure] to NHL.” Hsu Decl. But he has no reliable basis for reaching this conclusion.
10          Dr. Braunstein’s sole basis for concluding that Plaintiff’s exposure to Roundup was enough to

11 cause him to develop NHL (and, therefore, Dr. Braunstein’s sole basis for ruling in Roundup as a

12 potential cause of his NHL) are epidemiological studies.3 See Hsu Decl. Ex. C, Braunstein Report at

13 12, Table 1 (listing the epidemiological case-control studies on which Dr. Braunstein relied). And only

14 two of those studies—Eriksson and McDuffie—purport to determine how much Roundup exposure is

15 required to supposedly cause cancer. Id. Indeed, Dr. Braunstein confirmed at his deposition that when

16 he referred in his report to Plaintiff exceeding the “minimum exposure reported in epidemiologic

17 studies associating [Roundup exposure] and NHL” he was referring to the “exposure days” data in the

18 McDuffie and Eriksson studies. Hsu Supp. Decl. Ex. D, Braunstein Dep. (Caccia) at 56:3-19. Dr.

19 Braunstein testified that the McDuffie study concluded that “a minimum of … two days per year” of

20 exposure was enough to increase the risk of cancer to a statistically significant degree and the Eriksson

21 study concluded that “a minimum of ten days or more per year” of exposure was enough to increase

22 the risk of cancer to a statistically significant degree. Id. at 56:9-19.4

23

24   2
     Unless otherwise noted, exhibit citations in this reply are to the exhibits filed in support of Monsanto’s
   original motion to exclude Dr. Braunstein.
25
   3
     Dr. Braunstein’s report contains sections describing studies about the supposed genotoxic properties
26 of glyphosate, and certain animal and mechanistic studies on glyphosate. These studies do not address
   how much exposure to glyphosate is supposedly necessary to cause cancer in humans. See Hsu Decl.
27 Ex. C, Braunstein Report at 9-11. Accordingly, these studies do not (indeed, they could not) inform Dr.
   Braunstein’s specific causation opinion.
28 4 Dr. Braunstein presumably misspoke about the Eriksson study—its focus was on lifetime exposure
   days, not yearly exposure days.

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 1          But this Court has already recognized that the data points from the Eriksson and McDuffie

 2 studies on which Dr. Braunstein focuses are unreliable. In Pre-Trial Order 85 (“PTO 85”), this Court

 3 specifically addressed the Eriksson and McDuffie studies’ “exposure days” conclusions and noted that

 4 they “did not adjust for the use of other pesticides,” and consequently, the specific causation experts

 5 who relied on the Eriksson and McDuffie studies “may not testify that glyphosate is a substantial

 6 causative factor for anyone who exceeds two days per year or ten lifetime days of Roundup use,

 7 because that conclusion is based on unadjusted data.” PTO 85 at 8 (emphasis added).

 8          So too here. Dr. Braunstein purports to rule in Roundup because of the number of days on

 9 which Plaintiff was exposed to Roundup. Dr. Braunstein’s sole basis for concluding that Plaintiff
10 exceeded the number of days needed to rule in Roundup is the “exposure days” data contained in the

11 Eriksson and McDuffie studies.5 Thus, just like the experts who were the subject of PTO 85, Dr.

12 Braunstein should not be permitted to testify that glyphosate is a substantial causative factor for

13 Plaintiff’s NHL.

14 II.      Dr. Braunstein Did Not Reliably Rule Out Plaintiff’s Weight.
15          In its Motion, Monsanto argued that Dr. Braunstein did not reliably rule out Plaintiff’s weight

16 as a potential cause of Plaintiff’s cancer. Mot. at 6-7. Specifically, Monsanto noted that Dr. Braunstein

17 “narrowly focused on the technical definition of ‘obesity’ as a BMI of 30 or above and then excluded

18 weight as a potential cause of Plaintiff’s NHL because Plaintiff’s BMI was 30—because Plaintiff was

19 not technically ‘obese,’ Dr. Braunstein discounted weight altogether as a potential cause.” Id. In his

20 Response, Plaintiff argues that Dr. Braunstein reliably ruled out weight because “there exists only a

21 possible connection with obesity and [NHL] patients with morbid obesity with body mass indices over

22

23   5
       In addition to Eriksson and McDuffie, Dr. Braunstein’s report also discusses three now-familiar
     analyses: the IARC monograph, the Agricultural Health Study, and the Zhang meta-analysis. But these
24   documents did not play (and could not have played) a role in Dr. Braunstein’s “exposure days” opinion
     purporting to rule in Roundup. None of these analyses used an “exposure day” methodology. The
25   IARC monograph did not examine a dose-response relationship. Dr. Braunstein admitted that the
     Agricultural Health Study “did not find ... an increased risk of NHL.” Hsu Supp. Decl. Ex. D, Braunstein
26   Dep. (Caccia) at 59:14-15. And Dr. Braunstein himself wrote that the Zhang meta-analysis did not
     “detect a meaningful increase in NHL or other cancers associated with glyphosate” and even indicated
27   that the Eriksson study was somehow more reliable than the Zhang meta-analysis. Hsu Decl. Ex. C,
     Braunstein Report at 12-13 (citing FN 58, the Eriksson study). In any event, Dr. Braunstein testified
28   explicitly at deposition that he relied on the Eriksson and McDuffie studies for purposes of ruling in
     Roundup.

                                                        3
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 1 40.” Resp. at 10. But this argument flatly contradicts Dr. Braunstein’s own testimony—testimony

 2 Monsanto noted in its motion and which Plaintiff’s Response ignores altogether.

 3             Dr. Braunstein did not testify that there was only a “possible” connection between NHL and

 4 BMIs over 40. In fact, he said the opposite. Dr. Braunstein agreed at his deposition that “overweight

 5 subjects, who have a BMI between 25 [and] 30” demonstrated a “greater risk of NHL than in obese

 6 subjects.” Hsu Decl., Ex. B, Braunstein Dep. (Caccia) at 36:14-22. Dr. Braunstein further agreed that

 7 there is a “statistically significant increased risk of DLCBL, specifically” for subjects who have a BMI

 8 between 25 and 30. Hsu Supp. Decl. Ex. D, Braunstein Dep. (Caccia) at 36:23-37:2.

 9             So, contrary to Plaintiff’s argument, Dr. Braunstein actually testified that Plaintiff’s BMI of 30
10 placed him at an increased risk of NHL—and of the specific NHL subtype of DLCBL—even compared

11 to obese people. Plaintiff never addresses this point in his Response, even though Monsanto made this

12 argument in its Motion. See Mot. at 6-7. Nor does Plaintiff ever address Dr. Braunstein’s testimony,

13 also noted in Monsanto’s Motion, that from time-to-time Plaintiff’s BMI exceeded 30. See Mot. at 7.

14             Given Dr. Braunstein’s actual testimony, Plaintiff is wrong that Dr. Braunstein reliably ruled

15 out Plaintiff’s weight. To the contrary, Dr. Braunstein simply “dismiss[ed]” Plaintiff’s weight “in favor

16 of [Roundup] in a cursory fashion.” In re Lipitor (Atorvastatin Calcium) Mktg., Sales Practices &

17 Prod. Liab. Litig., 892 F.3d 624, 645 (4th Cir. 2018). Dr. Braunstein’s approach was thus “closer to

18 an ipse dixit then a reasoned scientific analysis.” Id. Recently, in the Engilis case, this Court excluded

19 a specific causation expert who purported to rule out the plaintiff’s weight as a factor but did not do so

20 reliably. PTO 288 at 8-11. The Court should do the same here.

21
     III.      Dr. Braunstein Did Not Consider, Let Alone Rule Out, Idiopathy (Including Naturally
22             Occurring Mutations).
23             In its Motion, Monsanto argued—consistent with case law and this Court’s own PTO 85—that

24 Dr. Braunstein failed to rule out idiopathic causes of Plaintiff’s NHL. Mot. at 8-9. In Response,

25 Plaintiff argues that Dr. Braunstein was not required to rule out idiopathic causes because “[e]xperts

26 need not analyze every conceivable risk factor to satisfy Daubert.” Resp. at 13.

27             Plaintiff is incorrect. In order to reliably rule out idiopathy, Dr. Braunstein needed to have

28 considered naturally occurring mutations as a potential cause. After all, as this Court correctly noted


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 1 at the December 12, 2023 Daubert hearing in the Delorme-Barton case: “[w]hat it’s been up until now,

 2 is … [a] high percentage of NHL cases are idiopathic” and the role that naturally occurring mutations

 3 play as a potential cause of NHL effectively “put[s] meat on the bones” of previous understanding,

 4 “which is that such a high percentage of NHL cases are idiopathic.” Hsu Supp. Decl. Ex. E, Daubert

 5 Hr’g Tr. at 158:17-25. Dr. Braunstein knew that naturally occurring mutations are one way to

 6 understand NHL cases previously classified as idiopathic because Monsanto disclosed in Wave VI the

 7 general causation opinions of Dr. Cristian Tomasetti, who concludes that random mutations are

 8 responsible for the vast majority of NHL cases.

 9          But Dr. Braunstein’s expert report does not even mention (let alone rule out) naturally occurring
10 mutations as a potential cause, just as it does not even mention (let alone rule out) idiopathy more

11 generally. And at his deposition, Dr. Braunstein confirmed explicitly that he was not “able to rule out

12 random or sporadic genetic mutations as the cause of [Plaintiff’s] NHL,” even while also admitting that

13 “mutations in our cells that are not repaired by our body’s natural mechanism to repair DNA can

14 replicate and eventually become cancerous.” Hsu Supp. Decl. Ex. D, Braunstein Dep. (Caccia) at 66:4-

15 7; 62:19-23.

16          Plaintiff relies on Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227 (9th Cir. 2017) for the

17 proposition that Dr. Braunstein need not rule out idiopathy at all. Plaintiff is incorrect. Wendell held

18 that when an expert reliably rules in one of a plaintiff’s “multiple risk factors” as a “substantial

19 causative factor” the expert need not “completely rule out” idiopathy. Id. at 1237. But here, by

20 Plaintiff’s own account, Plaintiff “had very few potential risk factors.” Resp. at 7. And, as explained,

21 supra pp. 2-3, Dr. Braunstein did not reliably rule in glyphosate as a substantial potential cause of

22 Plaintiff’s NHL because Dr. Braunstein’s sole basis for ruling in glyphosate was the unreliable,

23 unadjusted “exposure days” data points in the McDuffie and Eriksson studies. Thus, Dr. Braunstein

24 should have at least considered idiopathy as a potential cause of Plaintiff’s NHL. Henricksen v.

25 ConocoPhillips Co., 605 F. Supp. 2d 1142, 1163 (E.D. Wash. 2009) (excluding an expert for “fail[ing]

26 to adequately account for the possibility that [the plaintiff’s disease] was idiopathic”). But Dr.

27 Braunstein did not even consider idiopathy as a potential cause, let alone rule it out. Other Roundup

28 plaintiffs’ experts have recognized that a reliable differential diagnosis involves at least considering


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 1 idiopathy. See, e.g., Hardeman v. Monsanto Co., 997 F.3d 941, 953 (9th Cir. 2021) (“Hardeman’s

 2 experts considered various risk factors beyond Roundup exposure that could explain his disease,

 3 including … idiopathic origin.”). Here, Dr. Braunstein’s failure to consider idiopathic causes—

 4 including naturally occurring mutations—indicates that his methodology is fatally flawed.

 5                                             CONCLUSION
 6          For the foregoing reasons, the Court should grant Monsanto’s motion to exclude Dr. Braunstein.

 7 Dated: January 22, 2024                       Respectfully submitted,

 8
                                                 /s/ Linda C. Hsu
 9                                               Attorney for Defendant Monsanto Company
10
                                       CERTIFICATE OF SERVICE
11
            I HEREBY CERTIFY that on this 22nd day of January, 2024 a copy of the foregoing was filed
12
     with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all appearing
13
     parties of record.
14
                                                 /s/ Linda C. Hsu
15                                               Linda C. Hsu
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        MONSANTO’S REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE TESTIMONY OF DR. BRAUNSTEIN
